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                        IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      :

                v.                            :       CRIMINAL NO. 18-101

MEHDI NIKPARVAR-FARD                          :


                                GUILTY PLEA AGREEMENT

       Under Rule 11 of the Federal Rules of Criminal Procedure, the government, the

defendant, and the defendant’s counsel enter into the following guilty plea agreement. Any

reference to the United States or the government in this agreement shall mean the Office of the

United States Attorney for the Eastern District of Pennsylvania.

       1.      The defendant agrees to plead guilty to Count Five of the Superseding Indictment

charging him with Conspiracy to Distribute Controlled Substances, in violation of 21 U.S.C. §

846, arising from his role in a scheme to unlawfully dispense controlled substances outside the

usual course of professional practice and without a legitimate medical purpose including pre-

signing prescription pads for a co-conspirator whose DEA registration was suspended. The

defendant further acknowledges his waiver of rights, as set forth in the attachment to this

agreement.

       2.      At the time of sentencing, the government will:

               a.      Move to dismiss Counts One through Four of the Superseding Indictment

as to this defendant. The defendant waives the statute of limitations as to all counts to be

dismissed under this agreement and agrees that if the defendant withdraws from, or successfully

challenges, the guilty plea entered under this agreement, or if these counts are otherwise
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reinstated under the terms of this agreement, neither the statute of limitations nor the Double

Jeopardy Clause will bar prosecution on any of these dismissed counts.

               b.      Recommend a sentence of imprisonment and supervised release consistent

with paragraph 5 and make whatever sentencing recommendation as to fines and other matters

which the government deems appropriate.

               c.      Comment on the evidence and circumstances of the case; bring to the

Court’s attention all facts relevant to sentencing including evidence relating to dismissed counts,

if any, and to the character and any criminal conduct of the defendant; address the Court

regarding the nature and seriousness of the offense; respond factually to questions raised by the

Court; correct factual inaccuracies in the presentence report or sentencing record; and rebut any

statement of facts made by or on behalf of the defendant at sentencing.

               d.      Nothing in this agreement shall limit the government in its comments in,

and responses to, any post-sentencing matters.

       3.      The defendant understands, agrees, and has had explained to him by counsel that

the Court may impose the following statutory maximum sentence at to Count Five: 20 years’

imprisonment, a mandatory minimum of 3 years’ up to a lifetime of supervised release, a

$1,000,000 fine, and a $100 special assessment.

       4.      The defendant further understands that supervised release may be revoked if its

terms and conditions are violated. When supervised release is revoked, the original term of

imprisonment may be increased by up to 2 years on Count Five. Thus, a violation of supervised

release increases the possible period of incarceration and makes it possible that the defendant

will have to serve the original sentence, plus a substantial additional period, without credit for

time already spent on supervised release.



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        5.      The parties agree that this plea agreement is made pursuant to Federal Rule of

Criminal Procedure 11(c)(1)(C) and that the following specific sentence is the appropriate

disposition of this case: a sentence of imprisonment within a range of 43 months to 108 months;

a fine in an amount to be determined by the Court; a mandatory minimum of 3 years’ supervised

release, up to a lifetime of supervised release, as determined by the Court; and a $100 special

assessment. If the Court does not accept this plea agreement, then either the defendant or the

government will have the right to withdraw from the plea agreement and the defendant will have

the right to withdraw the guilty plea.

        6.      In order to facilitate the collection of the criminal monetary penalties to be

imposed in connection with this prosecution, the defendant agrees fully to disclose all income,

assets, liabilities, and financial interests, held directly or indirectly, whether held in his own

name or in the name of a relative, spouse, associate, another person, or entity, and whether held

in this country or outside this country. Accordingly:

                a.      The defendant will submit a completed Financial Statement of Debtor to

the U.S. Attorney’s Office, in a form it provides and as it directs, within 14 days of execution of

this plea agreement. The defendant promises that his financial statement and disclosures will be

complete, accurate, and truthful.

                b.      The defendant expressly authorizes the U.S. Attorney’s Office to obtain a

credit report on him in order to evaluate the defendant’s ability to satisfy any monetary penalty

imposed by the Court.

                c.      Upon request by the United States, the defendant also agrees to submit to a

financial deposition or interview prior to sentencing, and provide all documents within the




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defendant’s possession or control as requested by the U.S. Attorney’s Office regarding the

defendant’s financial resources and that of the defendant’s household.

               d.      The defendant agrees not to transfer, assign, dispose, remove, conceal,

pledge as collateral, waste, or destroy property with the effect of hindering, delaying, or

defrauding the United States or victims. The defendant otherwise shall not devalue any property

worth more than $1,000 before sentencing, without the prior approval of the United States.

               e.      The defendant also agrees to execute any documents necessary to release

any funds held in any repository, bank, investment, other financial institution, or any other

location in order to make partial or total payment toward any monetary penalty that the Court

may impose.

               f.      If the defendant fails to comply with this paragraph of the plea agreement

or if any of the defendant’s representations pursuant to the requirements set forth in this

paragraph are false or inaccurate, the government may elect to: void this agreement; and/or argue

that the defendant is not entitled to a downward adjustment for acceptance of responsibility

under Guideline Section 3E1.1.

       7.      The defendant agrees to pay a fine if ordered to do so. The defendant agrees that

any restitution or fine imposed by the Court shall be due and payable immediately and on such

terms and conditions that the Court may impose. In the event the Court imposes a schedule for

the payment of restitution or fine, the defendant understands and agrees that such a schedule

represents a minimum payment obligation and does not preclude the United States Attorney’s

Office from pursuing any other means by which to satisfy the defendant’s full and immediately

enforceable financial obligation under applicable federal and/or state law.




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       8.      The defendant agrees that forfeiture, restitution, fine, assessment, tax, interest, or

other payments in this case do not constitute extraordinary acceptance of responsibility or

provide any basis to seek a downward departure or variance from the applicable Sentencing

Guideline range.

       9.      The defendant agrees to pay the special victims/witness assessment in the amount

of $100 before the time of sentencing and shall provide a receipt from the Clerk to the

government before sentencing as proof of this payment.

       10.     At the time of sentencing, the government agrees to dismiss forfeiture as to this

defendant.

       11.     Except as stated in paragraph 5, the defendant may not withdraw his plea because

the Court declines to follow any recommendation, motion, or stipulation by the parties to this

agreement. No one has promised or guaranteed to the defendant what sentence the Court will

impose.

       12.     Pursuant to USSG § 6B1.4, the parties enter into the following stipulations under

the Sentencing Guidelines Manual. It is understood and agreed that: (1) the parties are free to

argue (except as stated below) the applicability of any other provision of the Sentencing

Guidelines, including offense conduct, offense characteristics, criminal history, adjustments, and

departures; (2) these stipulations are not binding upon either the Probation Office or the Court;

and (3) the Court may make factual and legal determinations that differ from these stipulations

and that may result in an increase or decrease in the Sentencing Guidelines range and the

sentence that may be imposed:

               a. The parties agree and stipulate that: approximately 138 grams of Oxycodone

was distributed in furtherance of the criminal activity jointly undertaken by the defendant and co-



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conspirators; this amount was within the scope of the defendant’s agreement; this amount was

reasonably foreseeable to the defendant in connection with the conspiracy; and the defendant’s

Guideline range should be calculated based on this amount pursuant to USSG § 1B1.3.

               b. The defendant understands that the government will argue that the defendant

abused a position of trust in a manner that significantly facilitated the commission of the offense,

pursuant to § 3B1.3. The defendant reserves the right to object to the imposition of this

adjustment to his guidelines.

               c. The defendant understands that the government will argue the defendant was an

organizer or leader of criminal activity that involved five or more participants, pursuant to

§ 3B1.1(a). The defendant reserves the right to object to the imposition of this adjustment to his

guidelines.

               d. The parties agree and stipulate that, as of the date of this agreement, the

defendant has demonstrated acceptance of responsibility for his offense, making the defendant

eligible for a 2-level downward adjustment under USSG § 3E1.1(a).

               e. The parties agree and stipulate that, as of the date of this agreement, the

defendant has assisted authorities in the investigation or prosecution of his own misconduct by

timely notifying the government of his intent to plead guilty, thereby permitting the government

to avoid preparing for trial and permitting the government and the court to allocate their

resources efficiently, resulting in a 1-level downward adjustment under USSG § 3E1.1(b).

       13.     If the defendant commits any federal, state, or local crime between the date of this

agreement and his sentencing, or otherwise violates any other provision of this agreement, the

government may declare a breach of the agreement, and may at its option: (a) prosecute the

defendant for any federal crime including, but not limited to, perjury, obstruction of justice, and



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the substantive offenses arising from this investigation, based on and using any information

provided by the defendant during the investigation and prosecution of the criminal case; (b) upon

government motion, reinstate and try the defendant on any counts which were to be, or which

had been, dismissed on the basis of this agreement; (c) be relieved of any obligations under this

agreement regarding recommendations as to sentence; and (d) be relieved of any stipulations

under the Sentencing Guidelines. Moreover, the defendant’s previously entered guilty plea will

stand and cannot be withdrawn by him. The decision shall be in the sole discretion of the

government both whether to declare a breach, and regarding the remedy or remedies to seek. The

defendant understands and agrees that the fact that the government has not asserted a breach of

this agreement or enforced a remedy under this agreement will not bar the government from

raising that breach or enforcing a remedy at a later time.

       14.     If the Court accepts the plea agreement and imposes the sentence stated in

paragraph 5 of this agreement, the government agrees that it will not file any appeal of the

sentence in this case, and the defendant agrees that he will not file any appeal, any collateral

attack, or any other writ or motion that challenges the defendant’s conviction, sentence, or any

other matter relating to this prosecution, whether such an appeal, collateral attack, or other writ

or motion arises under 18 U.S.C. § 3742, 28 U.S.C. § 1291, 28 U.S.C. § 2255, or any other

provision of law. As part of this knowing and voluntary waiver of the right to challenge the

conviction and sentence, the defendant expressly waives the right to raise on appeal or on

collateral review any argument that (1) the statute to which the defendant is pleading guilty is

unconstitutional and (2) the admitted conduct does not fall within the scope of the statute.

However, the defendant retains the right to file a claim, if otherwise allowed by law, that an




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attorney who represented the defendant during the course of this criminal case provided

constitutionally ineffective assistance.

        15.     If the Court does not accept the plea agreement and neither party withdraws from

the plea agreement, and the defendant enters a guilty plea, then the parties agree to continue to

recommend the sentence stated in paragraph 5, and the defendant voluntarily and expressly

waives all rights to file any appeal, any collateral attack, or any other writ or motion that

challenges the defendant’s conviction, sentence, or any other matter relating to this prosecution,

whether such an appeal, collateral attack, or other writ or motion arises under 18 U.S.C. § 3742,

28 U.S.C. § 1291, 28 U.S.C. § 2255, or any other provision of law. As part of this knowing and

voluntary waiver of the right to challenge the conviction and sentence, the defendant expressly

waives the right to raise on appeal or on collateral review any argument that (1) the statute to

which the defendant is pleading guilty is unconstitutional and (2) the admitted conduct does not

fall within the scope of the statute.

                a.      Notwithstanding the waiver provision above, if the government appeals

from the sentence, then the defendant may file a direct appeal of his sentence.

                b.      If the government does not appeal, then notwithstanding the waiver

provision set forth in this paragraph, the defendant may file a direct appeal or petition for

collateral relief but may raise only a claim, if otherwise permitted by law in such a proceeding:

                      i.        that the defendant’s sentence on any count of conviction exceeds

the statutory maximum for that count as set forth in paragraph 3 above;

                     ii.        challenging a decision by the sentencing judge to impose an

“upward departure” pursuant to the Sentencing Guidelines;




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                    iii.         challenging a decision by the sentencing judge to impose an

“upward variance” above the final Sentencing Guideline range determined by the Court; and,

                     iv.         that an attorney who represented the defendant during the course of

this criminal case provided constitutionally ineffective assistance of counsel.

If the defendant does appeal or seek collateral relief pursuant to this subparagraph, no issue may

be presented by the defendant in such a proceeding other than those described in this

subparagraph.

       16.      The defendant acknowledges that filing an appeal or any collateral attack waived

in either of the two preceding paragraphs may constitute a breach of this plea agreement. The

government promises that it will not declare a breach of the plea agreement on this basis based

on the mere filing of a notice of appeal, but may do so only after the defendant or his counsel

thereafter states, either orally or in writing, a determination to proceed with an appeal or

collateral attack raising an issue the government deems barred by the waiver. The parties

acknowledge that the filing and pursuit of an appeal constitutes a breach only if a court

determines that the appeal does not present an issue that a judge may reasonably conclude is

permitted by an exception to the waiver stated in the preceding paragraph or constitutes a

“miscarriage of justice” as that term is defined in applicable law.

       17.      The defendant waives any claim under the Hyde Amendment, 18 U.S.C. § 3006A

(Statutory Note), for attorney’s fees and other litigation expenses arising out of the investigation

or prosecution of this matter.

       18.      The defendant waives all rights, whether asserted directly or by a representative,

to request or receive from any department or agency of the United States any records pertaining

to the investigation or prosecution of this case, including without limitation any records that may



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be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act, 5 U.S.C. §

552a.

         19.   The defendant understands and agrees that: (a) the status of any professional

license or certification held by the defendant is not protected by this agreement and is a matter

solely within the discretion of the appropriate licensing, regulatory, and disciplinary authorities;

and (b) the government will inform the appropriate professional licensing, regulatory, and

disciplinary authorities in Pennsylvania of the disposition of the criminal charges filed against

the defendant in this case.

         20.   The defendant is satisfied with the legal representation provided by the

defendant’s lawyer; the defendant and this lawyer have fully discussed this plea agreement; and

the defendant is agreeing to plead guilty because the defendant admits that he is guilty.




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         21.   It is agreed that the parties’ guilty plea agreement contains no additional

promises, agreements, or understandings other than those set forth in this written guilty plea

agreement, and that no additional promises, agreements, or understandings will be entered into

unless in writing and signed by all parties.



                                                        JACQUELINE C. ROMERO
                                                        United States Attorney



MEHDI NIKPARVAR-FARD                                    RICHARD P. BARRETT
Defendant                                               Chief, Criminal Division
                                                        Assistant United States Attorney


                                                        s/Christopher E. Parisi
FRANK DESIMONE                                          MARY KAY COSTELLO
Counsel for the Defendant                               CHRISTOPHER E. PARISI
                                                        Assistant United States Attorneys


Date:




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                                             Attachment


                        IN THE UNITED STATES DISTRICT COURT

                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                       :

                v.                             :      CRIMINAL NO. 18-101

MEHDI NIKPARVAR-FARD                           :


                             ACKNOWLEDGMENT OF RIGHTS

       I hereby acknowledge that I have certain rights that I will be giving up by pleading guilty.

       1.      I understand that I do not have to plead guilty.

       2.      I may plead not guilty and insist upon a trial.

       3.      At that trial, I understand

                a.       that I would have the right to be tried by a jury that would be selected
from the Eastern District of Pennsylvania and that along with my attorney, I would have the right
to participate in the selection of that jury;

              b.      that the jury could only convict me if all 12 jurors agreed that they were
convinced of my guilt beyond a reasonable doubt;

              c.      that the government would have the burden of proving my guilt beyond a
reasonable doubt and that I would not have to prove anything;

             d.     that I would be presumed innocent unless and until such time as the jury
was convinced beyond a reasonable doubt that the government had proven that I was guilty;

               e.     that I would have the right to be represented by a lawyer at this trial and at
any appeal following the trial, and that if I could not afford to hire a lawyer, the court would
appoint one for me free of charge;

              f.     that through my lawyer I would have the right to confront and cross-
examine the witnesses against me;
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               g.       that I could testify in my own defense if I wanted to and I could subpoena
witnesses to testify in my defense if I wanted to; and

               h.       that I would not have to testify or otherwise present any defense if I did
not want to and that if I did not present any evidence, the jury could not hold that against me.

         4.      I understand that if I plead guilty, there will be no trial and I would be giving up
all of the rights listed above.

       5.      I understand that if I decide to enter a plea of guilty, the judge will ask me
questions under oath and that if I lie in answering those questions, I could be prosecuted for the
crime of perjury, that is, for lying under oath.

        6.      I understand that if I plead guilty, I have given up my right to appeal, except as set
forth in the appellate waiver provisions of my plea agreement.

       7.        Understanding that I have all these rights and that by pleading guilty I am giving
them up, I still wish to plead guilty.

       8.     I acknowledge that no one has promised me what sentence the Court will impose.
I am aware and have discussed with my attorney that, at sentencing, the Court will calculate the
Sentencing Guidelines range (including whether any departures apply), and then, in determining
my sentence, will consider the Guideline range and all relevant policy statements in the
Sentencing Guidelines, along with other sentencing factors set forth in 18 U.S.C. § 3553(a),
including

       (1) the nature and circumstances of the offense and my personal history and
       characteristics;

       (2) the need for the sentence imposed-- (A) to reflect the seriousness of the offense, to
       promote respect for the law, and to provide just punishment for the offense; (B) to afford
       adequate deterrence to criminal conduct; (C) to protect the public from further crimes of
       the defendant; and (D) to provide the defendant with needed educational or vocational
       training, medical care, or other correctional treatment in the most effective manner;

       (3) the kinds of sentences available;

       (4) the need to avoid unwarranted sentence disparities among defendants with similar
       records who have been found guilty of similar conduct; and




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         (5) the need to provide restitution to any victims of the offense.




MEHDI NIKPARVAR-FARD
Defendant




FRANK DESIMONE
Counsel for the Defendant



Dated:




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             SEND THE PLEA AGREEMENT ALONG WITH THE
             ATTACHED COVER LETTER (DOUBLE-CLICK TO
                            ACCESS IT).


              ALSO, EVERY DEFENDANT MUST COMPLETE A
            FINANCIAL STATEMENT AND RETURN IT WITHIN 14
             DAYS OF EXECUTION OF THE PLEA AGREEMENT.
             DOUBLE-CLICK TO OPEN THE FORM. THEN PRINT
             IT TO SEND TO DEFENSE COUNSEL ALONG WITH
            THE COVER LETTER, OR IF YOU PREFER, EMAIL IT
                             TO COUNSEL.


               DELETE THIS PAGE FROM THE FINAL PLEA
                            AGREEMENT.




                    Financial Statement Plea Agreement
                    of Individual Debtor Cover Letter.docx
